         Case 1:18-cr-00678-JPO Document 104 Filed 09/25/20 Page 1 of 2




 THE LITVAK LAW FIRM, PLLC
                         IGOR B. LITVAK, ESQ.
                ATTORNEY AND COUNSELOR AT LAW
                        1733 SHEEPSHEAD BAY ROAD, SUITE 22,
                                BROOKLYN, NY 11235
                                   718-989-2908
                              IGOR@LITVAKLAWNY.COM
                            WWW.NYCCRIMELAWYER.COM

                                                                   September 25th, 2020

Via ECF:

Hon. J. Paul Oetken
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007


               Re: United States v. Jevgeni Bokov, 18 Cr. 678-01 (JPO)

       Dear Judge Oetken,

        I represent Mr. Jevgeni Bokov in the above-referenced case. Mr. Bokov was arrested in
Estonia on September 4th, 2018, after the Government requested his extradition to the United
States. Mr. Bokov pled guilty to Money Laundering charges for violation of 18 U.S.C.
1956(a)(2) and sentenced by your Honorable Court on July 9, 2020, to "33 months on counts 4
and 5 to run concurrently." See Exhibit 1. At the sentencing, Your Honor stated that Mr. Bokov
will be credited the eight months spent in Estonia prison after his arrest at the request of the
United States, and prior to his extradition to the United States.

        I have been informed by the Government that the BOP Designation and Sentence
Computation Center (DSCC) is currently not crediting Mr. Bokov for time served in Estonia,
based on a perceived ambiguity in the Court’s intent. See Exhibit 2. As it is evident from the
document, the BOP credited Mr. Bokov's jail time not from September 4th, 2018, the date of his
arrest in Estonia, but from May 9, 2019, the date of his extradition to the United States. I
strongly disagree with the BOP's interpretation of the sentence's starting point since Your Honor
specifically stated the sentence is to run from the date of Mr. Bokov’s arrest in Estonia. This
BOP mistake is especially egregious since Mr. Bokov's conditions of confinement in Estonia


                                          Page 1 of 2
         Case 1:18-cr-00678-JPO Document 104 Filed 09/25/20 Page 2 of 2




were appalling, he spent most of the eight months in solitary confinement, and therefore, not
giving him credit for that time would be highly unfair to him.

        Moreover, under 18 U.S.C. § 4105(b), an offender serving a sentence of imprisonment in
a foreign country transferred to the custody of the Attorney General "shall be given credit toward
service of the sentence for any days, prior to the date of commencement of the sentence, spent in
custody in connection with the offense or acts for which the sentence was imposed."

       Therefore, I respectfully request that Your Honor So-Order a clarification that the Court
intended the sentence to run from the date of Mr. Bokov’s arrest in Estonia, September 4th, 2018.
The Government consents to this request and agrees with the defense Counsel’s interpretation of
Your Honor’s Sentencing Order.

       Thank you for your attention to this matter.

Sincerely,


__/s/ Litvak_____________
Igor Litvak, Esq.




                                           Page 2 of 2
